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                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF PUERTO RICO

  UNITED STATES OF AMERICA,                           CRIM. NO. 10-444-08 (FAB)
  Plaintiff,                                                    16-591-01 (FAB)
                                                        RECEIVED AND FILED
                           v.                           OCTOBER 20, 2021 AT 10:10 A.M.
                                                        OFM
  JARET NAVEDO-MELENDEZ,
  a/k/a "Fifty", "El Negro", ''El Feo", "La Negra",
  "Yaret Navedo-Melendez"
  Defendant.

                                 PLEA AGREEl\ffiNT

TO THE HONORABLE COURT:

      The United States of America, Defendant, Jaret Navedo-Melendez, and

Defendant's counsel, Diego H. Alcala-Laboy, Esq., pursuant to Federal Rule of

Criminal Procedure 11, state that they have reached a Plea Agreement, the terms and

conditions of which are as follows:

   1. Charges to which Defendant will Plead Guilty

      Defendant agrees to plead guilty to Count One in case number 10-444 (F AB)

and Counts One & Six in case number 16-591 (GAG):

Case Number 10-444 (FAB)

Count One: Conspiracy to Possess with Intent to Distribute Controlled Substances

       Beginning on a date unknown, but no later than in or about the year 2007, and

continuing up to and until the return of the Indictment, in the Municipality of San

Juan, District of Puerto Rico and within the jurisdiction of this Court, defendant, [8]

Yaret Navedo-Melendez and other persons, did lmowingly and intentionally combine,
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